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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                         Chapter 11

    AMYRIS, INC., et al.,1                                         Case No. 23-11131 (TMH)

                     Debtors.                                      (Jointly Administered)


                             NOTICE OF DEPOSITION OF JOHN DOERR

             PLEASE TAKE NOTICE that pursuant to Rules 26 and 30 of the Federal Rules of Civil

Procedure (the “Federal Rules”), made applicable in these bankruptcy cases pursuant to Rules

7026, 7030, and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

the Official Committee of Unsecured Creditors (the “Committee”) of the debtors and debtors in

possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases, seek oral

deposition testimony from John Doerr.                    The deposition will commence on Wednesday,

November 8, 2023 at 9:00 a.m. (Pacific Time), or at some other time mutually agreed upon by

the parties, at the offices of Kleiner Perkins, 2750 Sand Hill Rd. Menlo Park, California 94025.

             PLEASE TAKE FURTHER NOTICE THAT:

             1.    The deposition will proceed before an officer authorized by law to administer oaths;

             2.    The deposition will be recorded stenographically;

             3.    The deposition will be taken for all purposes permitted by the Federal Rules, the

Bankruptcy Rules, and the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware;



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      A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
      principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
      100, Emeryville, CA 94608.


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         4.    The deposition is being taken for discovery, or use at any evidentiary hearing or

trial, or for any purposes that are permitted by law or under the rules of this Court; and

         5.    The Committee reserves the right to record the testimony by audio or video means.

Dated: November 3, 2023                     Respectfully submitted,
       Wilmington, Delaware
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                                            Aaron H. Stulman (No. 5807)
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